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      SUSAN WHITE
  5

  6

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  8                          UNITED STATES BANKRUPTCY COURT

  9                CENTRAL DISTRICT OF CALIFORNIA-SANTA ANA DIVISION

 10   In re:                                    )   Case No.: 8:24-bk-10187-SC
                                                )
      SUSAN JO WHITE                            )
 11                                             )   Chapter 7
                                                )
 12                     Debtor.                 )   Adv No.: 8:24-ap-01087-SC
                                                )
 13   HOLLIE A. LEMKIN                          )   DEBTOR AND DEFENDANT SUSAN JO
                                                )
                                                )   WHITE’S MOTION TO DISMISS
 14   Plaintiff,                                    PURSUANT TO 7012(b)(6)
                                                )
                                                )
      v.                                        )
 15                                                 JUDGE:
                                                )   HON. SCOTT CLARKSON
      SUSAN JO WHITE                            )
 16                                             )
      Defendant                                 )   Hearing Date:
 17                                             )   Date: August 27th, 2024
                                                )   Time: 1:30 P.M.
 18                                             )   Place: 411 West Fourth Street #5C, Santa Ana,
                                                )
                                                )   CA 92701
 19                                             )
                                                )
 20                                             )
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  1   TO THE HONORABLE BANKRUPTCY JUDGE SCOTT CLARKSON, TO THE UNITED

  2   STATES TRUSTEE, TO THE CHAPTER 7 TRUSTEE, AND TO THE PLAINTIFF

  3   HOLLIE A. LEMKIN:

  4          Debtor and Defendant SUSAN JO WHITE (“DEBTOR”) brings this Motion to Dismiss

  5   pursuant to 7012(b)(6) as to the Plaintiff’s first and third causes of action.

  6          I.      PLAINTIFF’S FIRST CAUSE OF ACTION SHOULD BE DISMISSED

  7          The Plaintiff’s first cause of action arises 11 U.S.C. Sec. 523(a)(6) and should be dismissed

  8   under Federal Rule of Bankruptcy Procedure 7012(b)(6).

  9                  A.      7012(b)(6)

 10          Under Federal Rule of Bankruptcy Procedure 7012(b)(6), a party may move to dismiss a

 11   claim for failure to state a claim upon which relief may be granted. The motion may be based on

 12   either a lack of a recognizable legal theory or sufficient facts "alleged under a cognizable legal

 13   theory." Johnson v. Riverside Healthcare Sys., 534 F.3d 1116, 1121 (9th Cir. 2008)

 14   (citation omitted). In ruling on a motion to dismiss, the court must accept as true the well-pled

 15   factual allegations of the complaint, and draw all reasonable inferences in the plaintiff's

 16   favor. “Thomas v. Mundell, 572 F.3d 756, 760 (9th Cir. 2009)” Conclusions of law, conclusory

 17   allegations, unreasonable and unwarranted inferences or deductions need not, however, be

 18   accepted. Barapind v. Reno, 72 F. Supp. 2d 1132, 1141 (E.D.Cal. 1999). Instead, the factual

 19   allegations in the complaint must state a claim for relief that is factually plausible. Ashcroft v.

 20   Iqbal, 556 U.S. 662, 678 (2009); see also Bell Atlantic Corp. v. Twomby, 550 U.S.

 21   544 (2007). Twomby and Iqbal highlight the need to allege sufficient, factual allegations and

 22   avoid formulaic recitations of the elements of the claim for relief. A complaint must allege facts

 23   which will establish a plausible, not a possible claim for relief. A complaint alleges facial

 24   plausibility "when the plaintiff pleads factual content that allows the court to draw the reasonable

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  1   inference that the defendant is liable for the misconduct alleged." Twomby, 550 U.S. at 557. Bare

  2   assertions that "do nothing more that state a legal conclusion-even if that conclusion is cast in the

  3   form of a factual allegation" are discounted. Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir.

  4   2009). Determining whether a complaint states a plausible claim is a "context-specific task that

  5   requires the court to draw on its judicial experience and common sense." Iqbal, 129 S. Ct. at 1950.

  6   In sum, "to pass the Iqbal standard, a complaint must add some meat to the bones and provide

  7   some factual context for the Court to infer that the plaintiff has a plausible claim for relief." FIA

  8   Card Services, N.A. v. Karagianis (In re Karagianis), 2009 WL 4738188 at *2 (Bankr.D.N.H. Dec.

  9   4, 2009).

 10                  B.      Alleged Facts Supporting the Plaintiff’s First Cause of Action under 11

 11                          U.S.C. Sec. 523(a)(6)

 12          For the purpose of this Motion, the facts alleged by the Plaintiff as the non-moving party

 13   should be presumed to be true. “Thomas v. Mundell, 572 F.3d 756, 760 (9th Cir. 2009)”

 14          Plaintiff’s asserted facts, presumed true for this Motion, in support of its 523(a)(6) cause

 15   of action are as follows:

 16          Plaintiff represented the Debtor in a family court proceeding “In Re Marriage of White,

 17   Susan and Ross”, case number 13D001018 (“Family Court” proceeding”). Complaint Page 2,

 18   Paragraph 6 & 7.

 19          The Debtor lost that proceeding or acquired a result she found dissatisfying. Id at Page 3,

 20   Paragraph 8.

 21          The Debtor initiated a malpractice action against the Plaintiff “Susan J. White v. Hollie A.

 22   Lemkin, et al.”, case number 30-2017-00933576-CU-PN-CJC (“Malpractice Action”). Id.

 23          The Plaintiff cross-complained for attorney fees she was owed from the Family Court

 24   proceeding. Id.

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  1          The Plaintiff prevailed on the Malpractice Action. The Defendant took nothing by way of

  2   her complaint. The Plaintiff further prevailed on her cross complaint for her attorney fees owed

  3   from the Family Court proceeding in the additional amount of $162,202.48 for a total judgment

  4   amount of $468,549.52. Id, Page 3, Paragraph 9.

  5          Plaintiff alleges that the Family Court judge Schulte filed and served her Statement of

  6   Decision in which she made specific findings that Defendant had found that the Defendant’s

  7   malpractice action derived from extreme anger. Id, Page 3, Paragraph 11.

  8                  C.        Plaintiff’s Cause Of Action Under 11 U.S.C. Sec. 523(a)(6) Should be

  9                            Dismissed under Federal Rule of Bankruptcy Procedure 7012(b)(6)

 10          The Plaintiff has failed to plead sufficient facts to constitute a cause of action under 11

 11   U.S.C. Sec. 523(a)(6).

 12          Plaintiff’s first cause of action is to request a determination that the Creditor’s claim for

 13   attorney fees incurred in the Family Court proceeding, not costs incurred in defending the

 14   Malpractice Action, is nondischargeable under 11 U.S.C. Sec. 523(a)(6).               A debt can be

 15   determined to be non-dischargeable under 11 U.S.C. Sec. 523(a)(6) (“523(a)(6)”) where it is

 16   derived from a “malicious injury”:

 17          "A malicious injury involves '(1) a wrongful act, (2) done intentionally, (3) which
             necessarily causes injury, and (4) is done without just cause or excuse.'" Su, 290
 18          F.3d at 1146-47, quoting Petralia v. Jercich (In re Jercich), 238 F.3d 1202,
             1209 (9th Cir. 2001). "Within the plain meaning of this definition, it is the wrongful
 19          act that must be committed intentionally rather than the injury itself." Jett v. Sicroff
             (In re Sicroff), 401 F.3d 1101, 1106 (9th Cir. 2005), citing Murray v. Bammer (In
 20          re Bammer), 131 F.3d 788, 791 (9th Cir. 1997)("This four-part definition does not
             require a showing of biblical malice, i.e., personal hatred, spite, or ill will. Nor does
 21          it require a showing of an intent to injure, but rather it requires only an intentional
             act which causes injury."). "Malice may be inferred based on the nature of the
 22          wrongful act." Ormsby, 591 F.3d at 1206, citing Transamerica Comm. Fin. Corp.
             v. Littleton (In re Littleton), 942 F.2d 551, 554 (9th Cir. 1991)(determining that, in
 23          the case of conversion, malice may be inferred).

 24          Plaintiff’s Complaint fails to plead sufficient facts under the elements listed by the

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  1   Jercich factors.

  2                  1.      Plaintiff has Failed to Plead that the Defendant Committed a Wrongful Act

  3          The Plaintiff failed to plead what wrongful act the Defendant committed.

  4          The Plaintiff has plead that the Defendant lost her malpractice action and that the Judge

  5   opined in dicta that the Defendant’s malpractice case proceeded from a place of anger. Complaint,

  6   Page 3, Paragraph 10. What is missing however is the assertion of a judicial finding that the

  7   malpractice lawsuit itself was a wrongful act, or the statement that Defendant’s filing of the

  8   malpractice action was without legal basis.

  9          The Defendant’s failure to prevail in a malpractice action does not, in and of itself, indicate

 10   that the action was brought in either bad faith or constitutes a malicious prosecution action. In

 11   each and every legal action, absent a settlement, there is a winner and loser. Each loser did not,

 12   even with a dark and angry heart, commit a wrongful act by failing to acquire a favorable court

 13   verdict.

 14          Plaintiff has failed to clearly plead what was the wrongful act.

 15                  2.      Plaintiff Failed to Plead Whether Defendant Intended to Commit a

 16                          Wrongful Act

 17          The Plaintiff has failed to plead that the Defendant did anything other than to exercise her

 18   legal rights and subsequently badly lose her case.

 19          523(a)(6) requires that the Debtor intended the action that caused the harm. As discussed

 20   previously, the damages in question were the unpaid attorney fees from the Family Law proceeding

 21   and the collection thereof. Presuming, as the Complaint does, that the harm was the loss of attorney

 22   fees from the Family Court proceeding, alleging that Defendant intended this harm out of malice

 23   would be nonsensical; The Plaintiff would need to argue that the Debtor maliciously intended to

 24   incur attorney fees for the Family Court proceeding they ultimately thought they would lose from

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  1   the outset of the proceeding. Obviously, the Debtor intended to win the Family Law proceeding.

  2          Presuming that the Plaintiff intended to argue that the Defendant caused the Plaintiff to

  3   incur costs related to the Malpractice Action, and that is the harm, the problem with the Plaintiff’s

  4   argument in this regard is that the Plaintiff is arguing the Defendant intended the harm by

  5   exercising her rights to apply to the court for relief. By this argument, the Debtor could have won

  6   the malpractice lawsuit, with the same degree of anger, same alleged misrepresentations, caused

  7   the Plaintiff to incur attorney fees and costs, and still be determined to have intended malicious

  8   harm in a subsequent bankruptcy matter.

  9          Absent a judicial finding that the Debtor engaged in the tort of malicious prosecution, or

 10   the granting of a SLAPP motion or some other judicial action determining the Malpractice Action

 11   is frivolous, the Debtor’s actions in bringing the malpractice lawsuit were constitutionally

 12   protected.

 13          Section 523(a)(6) excepts from discharge any debt arising from "willful and malicious

 14   injury by the debtor to another entity or to the property of another entity[.]" The creditor must

 15   prove both willfulness and malice. Ormsby v. First Am. Title Co. of Nev. (In re Ormsby), 591 F.3d

 16   1199, 1206 (9th Cir. 2010). The willfulness analysis is separate from the malice analysis, and the

 17   two elements must not be conflated. Carrillo v. Su (In re Su), 290 F.3d 1140, 1146 (9th Cir. 2002).

 18          The "willful injury requirement is met only when the debtor has a subjective motive to

 19   inflict injury or when the debtor believes that injury is substantially certain to result from his own

 20   conduct." Id. at 1142; see Barboza v. New Form, Inc. (In re Barboza), 545 F.3d 702, 706 (9th Cir.

 21   2008) ("A 'willful' injury is a 'deliberate or intentional injury, not merely a deliberate or

 22   intentional act that leads to injury.'" (citation omitted)). This analysis requires an inquiry into the

 23   debtor's subjective state of mind. See In re Su, 290 F.3d at 1145-46. In other words, it is not enough

 24   to prove that the debtor acted intentionally and caused an injury. Kawaauhau v. Geiger, 523 U.S.

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  1   57, 61 (1998).” Dickens v. Bradley (In re Dickens) (B.A.P. 9th Cir., Aug. 17, 2022, BAP CC-21-

  2   1202-FSG) [pp. 15-16]

  3          The Complaint does not assert that the Defendant’s intention was to harm the Plaintiff at

  4   the exclusion of actually prevailing in court. If that were the case, the Defendant would have

  5   wanted to sue the Plaintiff for malpractice whether or not they prevailed. Litigants can be angry

  6   and want to harm one another, but antipathy only becomes prohibited if that was the sole reason

  7   for the basis of the litigation. Plaintiff did not allege that Defendant didn’t care whether she won

  8   the Malpractice Action. There is no dispute that the Plaintiff won the malpractice suit, but there

  9   is no allegation that there was any finding that the malpractice suit was frivolous, or that it lacked

 10   legal merit. The Defendant had her day in court and lost. The Defendant’s loss of her malpractice

 11   case against the Plaintiff is not tantamount to a wrongful act.

 12          Even if the Defendant’s prosecution of the malpractice action was argued to be reckless

 13   and driven by anger, as it was the exercise of a lawful right to apply to the court for relief and was

 14   not determined to be meritless or malicious prosecution, it could have prevailed, and thus it could

 15   not be pled as an intent to commit a wrongful act. “Indifference - reckless or otherwise - is

 16   insufficient to satisfy the § 523(a)(6) willfulness requirement. See In re Barboza, 545 F.3d at 707-

 17   08. ” Defendant could have prevailed, but did not. That is the risk of any litigation.

 18          Plaintiff has failed to plead Defendant had the intent to commit a wrongful act.

 19                  3.      Plaintiff Has Failed to Demonstrate an Injury

 20          The Plaintiff has failed to plead that she suffered any damages as a result of the Defendant’s

 21   malicious acts. Her alleged damages, per the Complaint, derived from 1. unpaid bills from the

 22   Family Court proceeding, and 2. costs incurred to collect the same. Per the complaint, they do

 23   not derive from defending the malpractice action.

 24

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  1          Specifically, the Plaintiff’s damages of $468,549.52 are derived from the award from the

  2   Plaintiff’s Cross Complaint for her attorney’s fees from the Family Court proceeding. Complaint

  3   Page 3, Paragraph 9. Those damages did not arise, or are not pled to have arisen, as a result of the

  4   malpractice action. Id. Those fees were derived from the Family Court proceeding, not the

  5   malpractice action and have nothing to do with the malpractice action which, per the Complaint,

  6   houses the Debtor’s ire.

  7          To be found to be non-dischargeable, damages under 523(a)(6) must have been derived

  8   from, or been produced by, the anger and malice. Debts derived from "willful and malicious injury

  9   by the debtor to another entity or to the property of another entity" are not dischargeable by the

 10   debtor. 11 U.S.C. § 523(a)(6). A "willful and malicious injury" is an act that is done with the

 11   specific intent to cause injury. Kawaauhua v. Geiger, 523 U.S. 57, 61 (1998); In re Baldwin, 249

 12   F.3d 912, 917 (9th Cir. 2001). In re Farahmand (Bankr. C.D. Cal., May 2, 2006, BK. No. SV 04-

 13   16883 MT, ADV No. 05-01060 MT) [pp. 11]

 14          If the damages derive from unpaid Family Court legal bills, the Plaintiff has not argued

 15   that the Debtor incurred these fees in Family Court out of malice. As a result, there are no facts

 16   plead in support of the damages claimed to be found non-dischargeable under 523(a)(6). Even

 17   assuming as true that the Family Court Judge found the Debtor to have been motivated by rage,

 18   that comment assessed her state of mind during the Malpractice Action, not the proceeding Family

 19   Court matter; There is no judicial comment supporting the allegation that she incurred the attorney

 20   fees owed in the Family Court out of spite.

 21          Therefore, Plaintiff failed to plead how the Debtor’s ill will caused her any damages.

 22   Plaintiff’s damages are contractual in nature and she has not pled otherwise.

 23                  4.      Plaintiff Failed to Plead Facts Demonstrating that the Malpractice Action

 24                          was Prosecuted without Just Cause or Excuse

 25                                                    7
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  1             Plaintiff failed to plead that the Malpractice action was prosecuted without just cause of

  2   excuse.

  3             Plaintiff argues that the Defendant prosecuted the matter out of feelings of unbridled anger.

  4   Plaintiff further argues that the Defendant should have known that, as alleged, her

  5   misrepresentations in testimony in the underlying Family Court case would have disqualified her

  6   from acquiring a favorable result in her malpractice action.

  7             Plaintiff’s argument fails to plead that the Defendant had no intention to acquire a favorable

  8   verdict in the Malpractice Action. Plaintiff fails to plead that the Defendant could not have

  9   acquired a favorable verdict, and that the Defendant had no reason to proceed to trial. There is no

 10   dispute that the Plaintiff won and the Defendant lost, but the Plaintiff fails to plead that there was

 11   any finding that the Defendant’s use of the courts was abusive or without merit. Plaintiff focuses

 12   on the allegation of, and issues of, false testimony without clarifying whether that was why the

 13   case was lost, or why the case could never have been won.

 14             II.    PLAINTIFF’S THIRD CAUSE OF ACTION UNDER 11 U.S.C. Sec.

 15                    727(a)(2)(a) SHOULD BE DISMISSED

 16             The Complaint’s cause of action stated under 11 U.S.C. 727(a)(2)(a) is defective on its face

 17   and should be dismissed pursuant to 7012(b)(6). 11 U.S.C. Sec. 727(a)(2)(a) states that:

 18               (a) The court shall grant the debtor a discharge, unless…2) the debtor, with intent to
                  hinder, delay, or defraud a creditor or an officer of the estate charged with custody of
 19               property under this title, has transferred, removed, destroyed, mutilated, or concealed,
                  or has permitted to be transferred, removed, destroyed, mutilated, or concealed-
 20               (A) property of the debtor, within one year before the date of the filing of
                  the petition; 11 U.S.C. § 727(a)(2)(a) (Emphasis provided)
 21
                At issue is the proscription that such bad acts being limited to those actions having occurred
 22
      within 1 year of the bankruptcy filing. Plaintiff focuses on events outside of that 1year limit.
 23
      Plaintiff asserts as follows:
 24

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  1          “In the schedules filed in each of the three Chapter 7 petitions filed by Defendant
             since April 8th, 2021, she has willfully and knowingly concealed the contributions of
  2          Robert Stidham to the expenses of the household in order to attempt to obtain a
             discharge, thereby hindering and delaying Plaintiff from enforcing the Judgment
  3          obtained in the defense of the legal malpractice suit brought by Defendant.”
             Complaint, Page 10, Paragraph 45.
  4
             During the time between Bankruptcy #2 and Bankruptcy #3, and in connection with
  5          her unsuccessful attempt to exempt her earnings from garnishment in connection
             with the Plaintiff’s efforts to enforce Judgment in state court, on October 5th, 2022,
  6          Defendant filed a claim of exemption and accompanying financial statement in
             support thereof in which she concealed the contributions of Robert of Robert Stidham
  7          to the expense of the household. Id, Page 10, Paragraph 46 and Page 11.

  8          Accordingly, by concealing the contributions of Mr. Stidham, Defendant hindered,
             delayed, and defrauded Plaintiff in her efforts to enforce the Judgment through
  9          garnishment as a result of which Defendant’s discharge should be denied.” Id, Page
             11, paragraph 47.
 10          The petition in this case was filed on January 25th, 2024. Any bad acts complained of by

 11   the Plaintiff would have had to occur within 1 year prior to January 25th, 2024 for 727(a)(2)(a) to

 12   apply. According to the Complaint, the bad act in question occurred on October 5th, 2022. This

 13   was before January 25th, 2023 and over 1 year prior to the filing of the petition.

 14          As such, Plaintiff’s third cause of action should be dismissed for failing to state a claim

 15   upon which relief can be granted.

 16        III.   PRAYER

 17          Defendant requests that the court grant the relief requested and dismiss the Complaint.

 18   Dated: July 12th, 2024                        Signed:/S/ ANERIO V. ALTMAN, ESQ.
                                                           ANERIO V. ALTMAN, ESQ.
 19                                                        ATTORNEY FOR DEFENDANT
                                                           SUSAN JO WHITE
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 26                             MOTION TO DISMISS
